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                              EXHIBIT A
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Filing    157962739 E-Filed
                    E-Filed 09/22/2022
                            09/22/2022 02:42:57 PM
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         FORM 1.997.
         FORM 1.997.        CIVIL COVER
                            CIVIL COVER SHEET
                                        SHEET

        The  civil cover
        The civil  cover sheet
                          sheet and
                                and the
                                    the information
                                        information contained
                                                      contained inin it
                                                                     it neither
                                                                        neither replace
                                                                                replace nor
                                                                                         nor supplement
                                                                                             supplement the
                                                                                                          the filing
                                                                                                              filing
        and service
        and  service of
                     of pleadings
                        pleadings or
                                   or other
                                      other documents
                                            documents as as required
                                                            required by by law.  This form
                                                                           law. This       must be
                                                                                      form must  be filed  by the
                                                                                                    filed by  the
        plaintiff or
        plaintiff or petitioner
                     petitioner with
                                with the
                                     the Clerk
                                         Clerk of
                                                of Court
                                                   Court for  the purpose
                                                          for the  purpose ofof reporting
                                                                                reporting uniform
                                                                                          uniform data
                                                                                                   data pursuant
                                                                                                        pursuant
        to section
        to section 25.075,
                    25.075, Florida
                             Florida Statutes. (See instructions
                                     Statutes. (See instructions for
                                                                   for completion.)
                                                                        completion.)


                 I.
                 I.       CASE STYLE
                          CASE STYLE

                      IN THE CIRCUIT/COUNTY
                      IN THE CIRCUIT/COUNTY COURT
                                            COURT OF
                                                  OF THE
                                                     THE ELEVENTH
                                                         ELEVENTH JUDICIAL  CIRCUIT,
                                                                   JUDICIAL CIRCUIT,
                               IN AND
                               IN AND FOR
                                      FOR MIAMI-DADE
                                          MIAMI-DADE COUNTY,
                                                      COUNTY, FLORIDA
                                                              FLORIDA

        Maria Matos
        Maria  Matos
        Plaintiff
        Plaintiff                                                                    Case ##
                                                                                     Case
                                                                                     Judge
                                                                                     Judge
        vs.
        vs.
       Physicians Central
       Physicians Central Business
                          Business Office
                                   Office LLC, Mark A.
                                          LLC, Mark A. Cereceda
                                                       Cereceda
        Defendant
        Defendant



                 II.
                 II.      AMOUNT OF
                          AMOUNT         OF CLAIM
                                              CLAIM
       Please indicate
       Please  indicate the
                        the estimated  amount of
                            estimated amount    of the
                                                   the claim,
                                                       claim, rounded  to the
                                                              rounded to  the nearest dollar. The
                                                                              nearest dollar.     estimated amount
                                                                                              The estimated amount of
                                                                                                                   of
       the claim is
                  is requested
                     requested for
                                for data
                                    data collection and clerical processing purposes only. The
                                                                                             The amount of the claim
                                                                                                               claim
       shall not
       shall not be
                 be used
                     used for any other
                          for any  other purpose.
                                         purpose.

        ❑ $8,000
        ☐        or less
          $8,000 or less
        ☐ $8,001 -- $30,000
        ❑ $8,001    $30,000
           $30,001- $50,000
         ☒ $30,001-  $50,000
         ☐ $50,001- $75,000
         ❑ $50,001-  $75,000
         ☐ $75,001 -- $100,000
         ❑ $75,001    $100,000
         ☐ over $100,000.00
         ❑ over $100,000.00

                 III.
                 III.    TYPE
                         TYPE OF OF CASE
                                      CASE       (If the
                                                 (If the case  fits more
                                                         case fits   more than
                                                                          than one
                                                                               one type
                                                                                    type of
                                                                                         of case,
                                                                                            case, select
                                                                                                  select the
                                                                                                          the most
                                                                                                              most
         definitive category.)
         definitive category.) If
                               If the
                                  the most
                                      most descriptive
                                            descriptive label  is aa subcategory
                                                         label is    subcategory (is
                                                                                  (is indented under aa broader
                                                                                      indented under    broader
         category), place
         category), place an
                          an x
                             x on
                                on both
                                    both the
                                         the main
                                             main category   and subcategory
                                                   category and     subcategory lines.
                                                                                lines.




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   CIRCUIT
   CIRCUIT CIVIL
           CIVIL

     Condominium
   ❑ Condominium
   ☐
   ❑
   ☐ Contracts and
     Contracts  and indebtedness
                     indebtedness
   ❑ Eminent
   ☐ Eminent  domain
              domain
     Auto negligence
   ❑ Auto
   ☐       negligence
   ☐ Negligence—other
   ❑ Negligence—other
             Business governance
          ❑ Business
          ☐             governance
          ☐  Business torts
          ❑ Business    torts
          ❑ Environmental/Toxic
          ☐  Environmental/Toxic tort  tort
          ❑ Third
          ☐         party indemnification
             Third party   indemnification
          ☐  Construction defect
          ❑ Construction     defect
          ☐  Mass tort
          ❑ Mass   tort
             Negligent security
          ❑ Negligent
          ☐               security
          ☐  Nursing home
          ❑ Nursing    home negligence
                               negligence
             Premises liability—commercial
          ❑ Premises
          ☐             liability—commercial
          ☐  Premises liability—residential
          ❑ Premises    liability—residential
     Products liability
   ❑ Products
   ☐           liability
   ☐      Property/Mortgage foreclosure
   ❑ Real Property/Mortgage    foreclosure
         ☐  Commercial foreclosure
         ❑ Commercial     foreclosure
         ☐  Homestead residential
         ❑ Homestead                 foreclosure
                         residential foreclosure
         ❑ Non-homestead residential
         ☐                    residential foreclosure
         ☐  Other real
         ❑ Other  real property
                       property actions
                                 actions

   ☐Professional  malpractice
   0 Professional malpractice
          ☐ Malpractice—business
          ❑ Malpractice—business
          ☐ Malpractice—medical
          ❑ Malpractice—medical
          ☐ Malpractice—other professional
          ❑ Malpractice—other       professional
   ☒
   z Other
     Other
          ☐ Antitrust/Trade regulation
          ❑ Antitrust/Trade     regulation
          ☐ Business transactions
          ❑ Business    transactions
          ☐ Constitutional challenge—statute
          ❑ Constitutional    challenge—statute or or ordinance
                                                      ordinance
          ☐ Constitutional challenge—proposed
          ❑ Constitutional    challenge—proposed amendment
                                                      amendment
          ☐ Corporate trusts
          ❑ Corporate    trusts
            Discrimination—employment or
          ❑ Discrimination—employment
          ☐                                    or other
                                                  other
          ❑ Insurance
          ☐              claims
            Insurance claims
          ❑ Intellectual
          ☐                property
            Intellectual property
          ❑ Libel/Slander
          ☐ Libel/Slander
          ❑ Shareholder
          ☐                 derivative action
            Shareholder derivative      action
          ❑ Securities
          ☐ Securities   litigation
                         litigation
          ❑ Trade
          ☐         secrets
            Trade secrets
          ❑ Trust
          ☐        litigation
            Trust litigation

   COUNTY CIVIL
   COUNTY CIVIL

   ☐
   ❑ Small  Claims up
     Small Claims  up to
                      to $8,000
                         $8,000
   ☐ Civil
   ❑ Civil
   ☐ Real property/Mortgage
   ❑ Real  property/Mortgage foreclosure
                              foreclosure

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   ☐ Replevins
   ❑ Replevins
   ☐
   ❑ Evictions
     Evictions
         ☐   Residential Evictions
         ❑ Residential   Evictions
         ☐   Non-residential Evictions
         ❑ Non-residential   Evictions
   ☐ Other civil
   ❑ Other civil (non-monetary)
                 (non-monetary)

                                        COMPLEX BUSINESS COURT
                                        COMPLEX BUSINESS COURT

  This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
  Administrative Order. Yes ☐  ❑ No ☒ IZI

           IV.
           IV.   REMEDIES SOUGHT
                 REMEDIES    SOUGHT (check
                                         (check all
                                                 all that
                                                     that apply):
                                                          apply):
             Monetary;
           ☒ Monetary;
             Nonmonetary declaratory
           ☒ Nonmonetary             or injunctive
                         declaratory or injunctive relief;
                                                   relief;
             Punitive
           ❑ Punitive
           ☐

           V.
           V.     NUMBER OF
                  NUMBER OF CAUSES
                            CAUSES OF
                                   OF ACTION:
                                      ACTION: [[ ]]
           (Specify)
           (Specify)

             2

           VI.
           VI.     IS
                   IS THIS
                      THIS CASE A CLASS
                           CASE A       ACTION LAWSUIT?
                                  CLASS ACTION LAWSUIT?
                      yes
                   ❑ yes
                   ☐
                      no
                   ☒ no

           VII.
           VII.    HAS NOTICE
                   HAS  NOTICE OF   OF ANY
                                         ANY KNOWN
                                                KNOWN RELATED
                                                           RELATED CASE      BEEN FILED?
                                                                       CASE BEEN     FILED?
                     no
                   ☒ no
                     yes If
                   ❑ yes
                   ☐     If "yes,"
                            “yes,” list
                                   list all
                                        all related
                                            related cases
                                                    cases by
                                                          by name,
                                                             name, case
                                                                   case number,
                                                                        number, and
                                                                                and court.
                                                                                    court.

           VIII. IS
           VIII.    JURY TRIAL
                 IS JURY       DEMANDED IN
                         TRIAL DEMANDED IN COMPLAINT?
                                           COMPLAINT?
                    yes
                 ☒ yes
                    no
                 ❑ no
                 ☐


           IX.
           IX.     DOES THIS
                   DOES  THIS CASE
                              CASE INVOLVE ALLEGATIONS OF
                                   INVOLVE ALLEGATIONS OF SEXUAL
                                                          SEXUAL ABUSE?
                                                                 ABUSE?
                     yes
                   ❑ yes
                   ☐
                     no
                   ☒ no


   II CERTIFY
      CERTIFY that
                that the
                     the information
                         information II have
                                        have provided
                                               provided in this cover
                                                        in this       sheet is
                                                                cover sheet is accurate
                                                                               accurate to
                                                                                        to the
                                                                                           the best
                                                                                               best of
                                                                                                    of
    my knowledge
   my              and belief,
        knowledge and   belief, and
                                and that
                                    that II have
                                            have read
                                                 read and
                                                      and will
                                                          will comply
                                                                comply with
                                                                       with the
                                                                             the requirements
                                                                                 requirements ofof
    Florida Rule
   Florida  Rule of
                 of Judicial Administration 2.425.
                    Judicial Administration    2.425.

   Signature: s/ Jorge
   Signature: s/       Freddy Perera
                 Jorge Freddy  Perera                         Fla. Bar
                                                              Fla. Bar #
                                                                       # 93625
                                                                         93625
                   Attorney or
                   Attorney or party
                               party                                         (Bar #
                                                                             (Bar # if attorney)
                                                                                    if attorney)

  Jorge Freddy Perera
  Jorge Freddy  Perera                             09/22/2022
                                                   09/22/2022
   (type or
   (type or print
            print name)
                  name)                            Date
                                                   Date

                                                   -- 33 --
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                            09/22/2022 02:42:57 PM
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                IN THE CIRCUIT
                IN THE CIRCUIT COURT
                               COURT OF THE ELEVENTH
                                     OF THE           JUDICIAL CIRCUIT
                                            ELEVENTH JUDICIAL  CIRCUIT
                        IN AND FOR
                        IN AND FOR MIAMI-DADE
                                   MIAMI-DADE COUNTY,
                                              COUNTY, FLORIDA
                                                       FLORIDA

                                        CASE
                                        CASE NO.:
                                             NO.: _________________

        MARIA
        MARIA MATOS,
                MATOS,
        and all others similarly situated
        and all others similarly situated under
                                          under
        29
        29 U.S.C.  §216(b),
           U.S.C. §216(b),


                Plaintiff(s),
                Plaintiff(s),
        vs.
        vs.


        PHYSICIANS
        PHYSICIANS CENTRAL
                      CENTRAL BUSINESS
                                 BUSINESS OFFICE,
                                              OFFICE, LLC,
                                                      LLC,
        a Florida
        a Florida For-Profit
                  For-Profit Corporation, and
                             Corporation, and
        MARK
        MARK A.A. CERECEDA,     individually,
                  CERECEDA, individually,

               Defendants.
               Defendants.
         ___________________________________________/
                                                    /

                                                COMPLAINT
                                                COMPLAINT
                                Collective Action Pursuant
                                Collective Action Pursuant to 29 U.S.C.
                                                           to 29        §216(b)
                                                                 U.S.C. §216(b)
                MARIA
                MARIA MATOS
                      MATOS (“Plaintiff”), by and
                            ("Plaintiff'), by and through
                                                  through the undersigned counsel
                                                          the undersigned counsel and
                                                                                  and

         on behalf of
         on behalf    all similarly-situated
                   of all similarly-situated individuals,
                                             individuals, hereby sues PHYSICIANS
                                                          hereby sues PHYSICIANS

         CENTRAL
         CENTRAL BUSINESS
                 BUSINESS OFFICE,
                          OFFICE, LLC
                                  LLC (“Physicians Central”), a
                                      ("Physicians Central"), a Florida
                                                                Florida For-Profit
                                                                        For-Profit

         Corporation, and
         Corporation, and MARK A. CERECEDA
                          MARK A. CERECEDA (“Cereceda”), individually (collectively
                                           ("Cereceda"), individually (collectively

        “Defendants”) and
        "Defendants") and alleges
                          alleges as
                                  as follows:
                                     follows:

                                              INTRODUCTION
                                              INTRODUCTION

                1.
                1.     This is
                       This is an
                               an action
                                  action for
                                         for unpaid
                                             unpaid overtime
                                                    overtime wages
                                                             wages pursuant to the
                                                                   pursuant to the Fair
                                                                                   Fair

         Labor Standards Act,
         Labor Standards Act, 29
                              29 U.S.C.    201 et
                                        §§ 201
                                 U.S.C. §§        seq. (“FLSA”).
                                               et seq. ("FLSA").

                2.
                2.     Plaintiff seeks in
                       Plaintiff seeks in excess of $30,000.00
                                          excess of $30,000.00 in
                                                               in damages,
                                                                  damages, exclusive
                                                                           exclusive of
                                                                                     of

        attorneys’ fees
        attorneys' fees and
                        and costs,
                            costs, as
                                   as is
                                      is within
                                         within this
                                                this Court’s jurisdiction, reasonable
                                                     Court's jurisdiction, reasonable


         1 |I P
         1      age
              Page
                                              PERERA     ALEMÁN
                                              PERERA ALEMAN
                              12505  Orange Drive
                              12505 Orange   Drive ·• Suite
                                                      Suite 908
                                                            908 ·• Davie,
                                                                   Davie, FL 33330
                                                                          FL 33330
                           2030 S Douglas
                           2030 S Douglas Road
                                           Road ·• Suite
                                                   Suite 203
                                                         203 ·• Coral
                                                                Coral Gables,
                                                                      Gables, FL 33134
                                                                              FL 33134
                                    (786)  485.5232 ·• www.PBA-Law.com
                                     (786) 485.5232     www.PBA-Law.com
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   attorneys’ fees,
   attorneys' fees, and
                    and costs
                        costs pursuant
                              pursuant to
                                       to the
                                          the FLSA, and all
                                              FLSA, and all other
                                                            other remedies allowable
                                                                  remedies allowable

   by law.
   by law.

                       PARTIES, JURISDICTION, AND
                       PARTIES, JURISDICTION, AND VENUE
                                                  VENUE

          3.
          3.    Plaintiff was formerly
                Plaintiff was formerly employed by Defendants
                                       employed by            and performed
                                                   Defendants and           work
                                                                  performed work

   for Defendants
   for            in Miami-Dade
       Defendants in            County, Florida.
                     Miami-Dade County, Florida.

          4.
          4.    Physicians Central is,
                Physicians Central is, and
                                       and was,
                                           was, a
                                                a Florida
                                                  Florida For-Profit Corporation
                                                          For-Profit Corporation

   conducting
   conducting business in Miami-Dade
              business in Miami-Dade County.
                                     County.

          5.
          5.    Cereceda is, and
                Cereceda is, and was,
                                 was, a
                                      a corporate
                                        corporate officer
                                                  officer for/operator
                                                          for/operator of
                                                                       of Physicians
                                                                          Physicians

   Central during
   Central during the
                  the relevant time period.
                      relevant time period. Further, Cereceda controlled
                                            Further, Cereceda controlled the
                                                                         the

   business and Physicians
   business and Physicians Central’s
                           Central's employees
                                     employees (including
                                               (including Plaintiff)
                                                          Plaintiff) in
                                                                     in terms
                                                                        terms of
                                                                              of

   hiring,
   hiring, firing, scheduling, duties,
           firing, scheduling,         work hours,
                               duties, work hours, calculation
                                                   calculation of wages, paying
                                                               of wages, paying of
                                                                                of

   wages, and
   wages, and ensuring
              ensuring compliance with local,
                       compliance with        state, and
                                       local, state, and federal
                                                         federal laws, including,
                                                                 laws, including,

   but
   but not limited to,
       not limited to, the
                       the FLSA.
                           FLSA.

          6.
          6.    Physicians Central and
                Physicians Central and Cereceda are employers,
                                       Cereceda are            joint employer,
                                                    employers, joint employer, or
                                                                               or

   co-employer for purposes
   co-employer for purposes of the FLSA
                            of the      as the
                                   FLSA as the term
                                               term is
                                                    is defined
                                                       defined by
                                                               by 29 U.S.C. §
                                                                  29 U.S.C. § 203.
                                                                              203.

          7.
          7.    Venue is
                Venue is proper in this
                         proper in      Court because
                                   this Court because Defendants
                                                      Defendants transact
                                                                 transact business
                                                                          business

   in this
   in this Circuit,
           Circuit, Defendants
                    Defendants maintain a principal
                               maintain a principal place
                                                    place of
                                                          of business in this
                                                             business in      Circuit,
                                                                         this Circuit,

   Defendants
   Defendants employed
              employed Plaintiff in this
                       Plaintiff in      Circuit, and
                                    this Circuit, and the
                                                      the claims arose within
                                                          claims arose within the
                                                                              the

   Circuit.
   Circuit.




   2 |I P
   2      age
        Page
                                      PERERA     ALEMÁN
                                      PERERA ALEMAN
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                      12505 Orange   Drive ·• Suite
                                              Suite 908
                                                    908 ·• Davie,
                                                           Davie, FL 33330
                                                                  FL 33330
                   2030 S Douglas
                   2030 S Douglas Road
                                   Road ·• Suite
                                           Suite 203
                                                 203 ·• Coral
                                                        Coral Gables,
                                                              Gables, FL 33134
                                                                      FL 33134
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                                  GENERAL ALLEGATIONS
                                  GENERAL ALLEGATIONS

      A. Defendants'
      A. Defendants’ Business
                     Business and
                              and Interstate
                                  Interstate Commerce
                                             Commerce

          8.
          8.    The primary
                The primary purpose
                            purpose of
                                    of Physicians Central is
                                       Physicians Central is to
                                                             to provide
                                                                provide health
                                                                        health

   services to
   services    its patients/clients
            to its                  in the
                   patients/clients in     specialized field
                                       the specialized field of
                                                             of occupational
                                                                occupational medicine.
                                                                             medicine.

          9.
          9.    Physicians Central operates
                Physicians Central operates four
                                            four to
                                                 to five
                                                    five locations across Miami-Dade
                                                         locations across Miami-Dade

   County,
   County, Florida.
           Florida.

          10.
          10.   Under
                Under information and belief,
                      information and belief, Plaintiff alleges that
                                              Plaintiff alleges that Physicians
                                                                     Physicians

   Central’s gross
   Central's gross annual
                   annual revenue
                          revenue exceeded $500,000.00 during
                                  exceeded $500,000.00 during 2019,
                                                              2019, 2020,
                                                                    2020, 2021
                                                                          2021

   and is
   and is expected
          expected to
                   to exceed $500,000.00 during
                      exceed $500,000.00 during 2022.
                                                2022.

          11.
          11.   Physicians
                Physicians Central
                           Central customarily and regularly
                                   customarily and           sold goods
                                                   regularly sold goods and
                                                                        and

   services across
   services across state
                   state lines.
                         lines.

          12.
          12.   At all
                At all relevant
                       relevant times,
                                times, Physicians Central employed
                                       Physicians Central employed two
                                                                   two or
                                                                       or more
                                                                          more

   employees
   employees that
             that customarily,
                  customarily, continually, and regularly
                               continually, and regularly handled goods and
                                                          handled goods and

   materials
   materials that
             that i) were purchased
                  i) were           from a
                          purchased from a person
                                           person or
                                                  or entity
                                                     entity outside
                                                            outside the state of
                                                                    the state of

   Florida and/or ii)
   Florida and/or ii) were
                      were purchased
                           purchased in
                                     in Florida
                                        Florida but
                                                but had
                                                    had previously
                                                        previously traveled
                                                                   traveled through
                                                                            through

   interstate commerce.
   interstate commerce.

          13.
          13.   Upon
                Upon information and belief,
                     information and belief, Physicians
                                             Physicians Central
                                                        Central obtained and
                                                                obtained and

   solicited funds
   solicited       from non-Florida
             funds from             sources, accepted
                        non-Florida sources, accepted funds
                                                      funds from
                                                            from non-Florida
                                                                 non-Florida

   sources, used
   sources, used telephonic
                 telephonic (or
                            (or other
                                other electronic)
                                      electronic) transmissions going over
                                                  transmissions going      state lines
                                                                      over state lines

   to
   to do its business,
      do its business, transmitted
                       transmitted funds
                                   funds outside
                                         outside the State of
                                                 the State of Florida, used electronic
                                                              Florida, used electronic

   means
   means to
         to market and run
            market and run their
                           their business
                                 business in a way
                                          in a way that was not
                                                   that was not limited
                                                                limited to
                                                                        to Florida,
                                                                           Florida,



   3 |I P
   3      age
        Page
                                      PERERA     ALEMÁN
                                      PERERA ALEMAN
                      12505  Orange Drive
                      12505 Orange   Drive ·• Suite
                                              Suite 908
                                                    908 ·• Davie,
                                                           Davie, FL 33330
                                                                  FL 33330
                   2030 S Douglas
                   2030 S Douglas Road
                                   Road ·• Suite
                                           Suite 203
                                                 203 ·• Coral
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   and otherwise
   and otherwise regularly
                 regularly engaged in interstate
                           engaged in interstate commerce
                                                 commerce during the relevant
                                                          during the relevant

   period.
   period.

          14.
          14.   Physicians Central, upon
                Physicians Central, upon information and belief,
                                         information and         accepts checks,
                                                         belief, accepts checks,

   wire transfers,
   wire            and other
        transfers, and other forms
                             forms of
                                   of payments
                                      payments that are made
                                               that are made or
                                                             or processed
                                                                processed outside
                                                                          outside

   the state of
   the state of Florida, and did
                Florida, and     so during
                             did so during the
                                           the relevant
                                               relevant period.
                                                        period.

          15.
          15.   Physicians Central is
                Physicians Central is an
                                      an employer
                                         employer engaged in interstate
                                                  engaged in interstate commerce
                                                                        commerce

   and subject
   and subject to
               to the
                  the FLSA.
                      FLSA.

      B. Defendants'
      B. Defendants’ Employment and Failure
                     Employment and Failure to
                                            to Properly
                                               Properly Pay
                                                        Pay Plaintiff
                                                            Plaintiff

          16.
          16.   Plaintiff’s
                Plaintiffs employment  with Defendants
                            employment with Defendants began
                                                       began during
                                                             during 2019.
                                                                    2019.

          17.
          17.   During her employment,
                During her employment, Plaintiff worked as
                                       Plaintiff worked as a
                                                           a non-exempt “New
                                                             non-exempt "New

   Patient Coordinator” earning
   Patient Coordinator"         an annual
                        earning an annual salary
                                          salary of $45,000.00.
                                                 of $45,000.00.

          18.
          18.   Plaintiff was required
                Plaintiff was required to answer calls
                                       to answer       from new
                                                 calls from new patients seeking
                                                                patients seeking

   services from
   services from all
                 all of
                     of Defendants’ locations.
                        Defendants' locations.

          19.
          19.   Throughout the
                Throughout the relevant
                               relevant time
                                        time period,
                                             period, Plaintiff
                                                     Plaintiff regularly worked
                                                               regularly worked

   overtime
   overtime hours where her
            hours where     work hours
                        her work hours reached, at least,
                                       reached, at least, sixty
                                                          sixty (60)
                                                                (60) hours
                                                                     hours (some
                                                                           (some

   weeks it
   weeks it was
            was decidedly
                decidedly more)
                          more) per week without
                                per week without proper
                                                 proper overtime wages as
                                                        overtime wages as required
                                                                          required

   by
   by the
      the FLSA.
          FLSA.

          20.
          20.   Defendants
                Defendants have
                           have knowledge
                                knowledge of
                                          of Plaintiff’s work hours
                                             Plaintiffs work        as she
                                                              hours as she was
                                                                           was

   required
   required to
            to clock in and
               clock in and out
                            out each
                                each day.
                                     day.

          21.
          21.   Further,
                Further, Defendants
                         Defendants regularly
                                    regularly required
                                              required Plaintiff
                                                       Plaintiff to work off
                                                                 to work off the
                                                                             the clock.
                                                                                 clock.

          22.
          22.   During
                During the
                       the relevant
                           relevant time
                                    time period
                                         period Plaintiff was required
                                                Plaintiff was required to answer new
                                                                       to answer new

   patient
   patient calls after work
           calls after work hours. This off-the-clock,
                            hours. This off-the-clock, on-call
                                                       on-call time was not
                                                               time was not captured
                                                                            captured

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   4      age
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   by
   by Defendants’
      Defendants' timekeeping system but
                  timekeeping system     was nonetheless
                                     but was nonetheless strictly
                                                         strictly required as part
                                                                  required as part

   of
   of Plaintiff’s
      Plaintiffs regular  job duties.
                  regular job         Such off-the-clock,
                              duties. Such                on-call work
                                           off-the-clock, on-call work would
                                                                       would occur
                                                                             occur

   throughout
   throughout the week, including
              the week, including weekends.
                                  weekends.

          23.
          23.   Defendants intentionally refused
                Defendants intentionally refused to
                                                 to pay
                                                    pay Plaintiff
                                                        Plaintiff overtime wages she
                                                                  overtime wages she

   was owed
   was      under the
       owed under the FLSA.
                      FLSA.

          24.
          24.   Indeed,
                Indeed, Defendants
                        Defendants had
                                   had complete
                                       complete knowledge
                                                knowledge of
                                                          of Plaintiff’s
                                                             Plaintiffs overtime
                                                                         overtime

   hours where the
   hours where the timekeeping system and
                   timekeeping system and on-call
                                          on-call requirements
                                                  requirements revealed the
                                                               revealed the

   same. Despite
   same. Despite this
                 this knowledge,
                      knowledge, Defendants willfully and
                                 Defendants willfully and purposefully
                                                          purposefully did
                                                                       did not
                                                                           not

   tender
   tender Plaintiff
          Plaintiff her
                    her full and proper
                        full and proper overtime wages he
                                        overtime wages    was owed
                                                       he was      under the
                                                              owed under the FLSA.
                                                                             FLSA.

          25.
          25.   Defendants were Plaintiff’s
                Defendants were Plaintiffs employer,  joint employer,
                                            employer, joint employer, or
                                                                      or co-employer
                                                                         co-employer

   for purposes
   for purposes of
                of the
                   the FLSA as the
                       FLSA as the term
                                   term employer
                                        employer is
                                                 is defined
                                                    defined by
                                                            by 29
                                                               29 U.S.C. § 203
                                                                  U.S.C. §     and,
                                                                           203 and,

   as such,
   as such, jointly
            jointly and
                    and severally
                        severally owe
                                  owe Plaintiff unpaid overtime
                                      Plaintiff unpaid          wages.
                                                       overtime wages.

      C. Cereceda's
      C. Cereceda’s Employment of, and
                    Employment of, and Failure
                                       Failure to
                                               to Properly
                                                  Properly Pay,
                                                           Pay, Plaintiff
                                                                Plaintiff

          26.
          26.   During
                During       the
                             the   relevant
                                   relevant      period,
                                                 period,     Cereceda
                                                             Cereceda       was
                                                                            was   Plaintiff’s
                                                                                  Plaintiffs

   manager/supervisor as well
   manager/supervisor as well as
                              as the general operator
                                 the general operator of
                                                      of the
                                                         the business.
                                                             business.

          27.
          27.   During
                During Plaintiff’s
                       Plaintiffs employment,
                                   employment,             Cereceda acted as
                                                           Cereceda acted as      Plaintiff’s
                                                                                  Plaintiffs

   supervisor/manager, provided
   supervisor/manager, provided Plaintiff with her
                                Plaintiff with her work
                                                   work duties,
                                                        duties, gave
                                                                gave feedback
                                                                     feedback on
                                                                              on

   the work Plaintiff
   the work Plaintiff performed
                      performed for
                                for Defendants,
                                    Defendants, had
                                                had the ability to
                                                    the ability to discipline
                                                                   discipline Plaintiff
                                                                              Plaintiff

   and other
   and other employees, and was
             employees, and was responsible
                                responsible for
                                            for recording,
                                                recording, calculating, and paying
                                                           calculating, and paying

   Plaintiff’s work hours.
   Plaintiffs work  hours.




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          28.
          28.   Cereceda, at all
                Cereceda, at all material
                                 material times, was on
                                          times, was on notice
                                                        notice of
                                                               of Plaintiff’s work
                                                                  Plaintiffs work

   hours and off-the-clock,
   hours and                on-call work
             off-the-clock, on-call work but
                                         but purposefully
                                             purposefully did
                                                          did not
                                                              not investigate
                                                                  investigate nor
                                                                              nor

   remedy
   remedy the
          the due and owing
              due and owing overtime wages.
                            overtime wages.

          29.
          29.   Cereceda intentionally refused
                Cereceda intentionally refused to
                                               to pay
                                                  pay Plaintiff
                                                      Plaintiff overtime wages she
                                                                overtime wages she is
                                                                                   is

   owed under the
   owed under the FLSA.
                  FLSA.

          30.
          30.   Cereceda is partially
                Cereceda is           or totally
                            partially or totally responsible for paying
                                                 responsible for paying Plaintiff’s due
                                                                        Plaintiffs due

   and owing
   and owing overtime wages.
             overtime wages.

          31.
          31.   Cereceda must be
                Cereceda must be considered
                                 considered Plaintiff’s
                                            Plaintiffs employers,  joint employer,
                                                        employers, joint employer,

   or
   or co-employer for purposes
      co-employer for          of the
                      purposes of the FLSA as the
                                      FLSA as the term
                                                  term employer is defined
                                                       employer is defined by 29
                                                                           by 29

   U.S.C. § 203.
   U.S.C. § 203.

      D. Defendants'
      D. Defendants' Illegal
                     Illegal Payment
                             Payment Practices Affected All
                                     Practices Affected All Other
                                                            Other Similarly
                                                                  Similarly
         Situated Employees.
         Situated Employees.

          32.
          32.   During the relevant
                During the relevant time
                                    time period,
                                         period,               Defendants
                                                               Defendants employ
                                                                          employ other
                                                                                 other

   individuals performing
   individuals            services similar
               performing services similar to
                                           to Plaintiff.
                                              Plaintiff.

          33.
          33.   These similarly-situated
                These similarly-situated individuals
                                         individuals were
                                                     were also
                                                          also required
                                                               required to work off-
                                                                        to work off-

   the-clock,
   the-clock, on-call
              on-call duties in answering/responding
                      duties in answering/responding to
                                                     to new
                                                        new patient
                                                            patient calls
                                                                    calls

   throughout
   throughout the
              the night and weekend.
                  night and weekend.

          34.
          34.   Through this
                Through this misclassification,
                             misclassification, these
                                                these other
                                                      other individuals were paid
                                                            individuals were      in
                                                                             paid in

   a same
   a same or similar fashion
          or similar fashion (salary without any
                             (salary without any overtime
                                                 overtime pay) as Plaintiff
                                                          pay) as Plaintiff that
                                                                            that

   violates the
   violates the FLSA.
                FLSA.

          35.
          35.   Defendants
                Defendants employ
                           employ other
                                  other individuals
                                        individuals that
                                                    that customarily and regularly
                                                         customarily and regularly

   performed
   performed overtime work for
             overtime work for which
                               which they
                                     they were
                                          were not
                                               not compensated
                                                   compensated either fully
                                                               either fully

   and/or at
   and/or at the
             the correct
                 correct rate.
                         rate.
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   6      age
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          36.
          36.   The potential
                The potential class of aggrieved
                              class of aggrieved individuals
                                                 individuals working
                                                             working for
                                                                     for Defendants
                                                                         Defendants

   and subject
   and subject to
               to this
                  this misclassification
                       misclassification have worked over
                                         have worked      forty (40)
                                                     over forty (40) hours a week
                                                                     hours a week

   during the last
   during the last three
                   three (3) years without
                         (3) years without being
                                           being paid at a
                                                 paid at a proper time-and-a-half
                                                           proper time-and-a-half

   their
   their regular
         regular rate
                 rate of
                      of pay for all
                         pay for all overtime
                                     overtime hours worked.
                                              hours worked.

                                  COUNT II
                                  COUNT
                 OVERTIME VIOLATION
                 OVERTIME VIOLATION BY
                                     BY PHYSICIANS CENTRAL
                                        PHYSICIANS CENTRAL
                   UNDER THE
                   UNDER THE FAIR
                              FAIR LABOR   STANDARDS ACT
                                   LABOR STANDARDS   ACT

          37.
          37.   Plaintiff, on behalf
                Plaintiff, on behalf of herself and
                                     of herself and all
                                                    all others similarly situated,
                                                        others similarly situated, re-
                                                                                   re-

   allege and
   allege and incorporate
              incorporate by
                          by reference
                             reference the allegations in
                                       the allegations in paragraphs
                                                          paragraphs 1
                                                                     1 through 36
                                                                       through 36

   above as
   above as if
            if fully
               fully set
                     set forth
                         forth herein.
                               herein.

          38.
          38.   As part
                As part of
                        of its
                           its business,
                               business, Physicians
                                         Physicians Central
                                                    Central purchased goods and
                                                            purchased goods and

   materials
   materials that
             that traveled
                  traveled through interstate commerce.
                           through interstate commerce.

          39.
          39.   These goods
                These goods and
                            and materials were customarily,
                                materials were customarily, continually, and
                                                            continually, and

   regularly
   regularly handled
             handled by
                     by two
                        two or
                            or more
                               more employees, including Plaintiff.
                                    employees, including Plaintiff.

          40.
          40.   Upon information and
                Upon information and belief,
                                     belief, Physicians Central obtained
                                             Physicians Central          and
                                                                obtained and

   solicited funds
   solicited funds from
                   from non-Florida sources, accepted
                        non-Florida sources, accepted funds
                                                      funds from
                                                            from non-Florida
                                                                 non-Florida

   sources, used
   sources, used telephonic transmissions going
                 telephonic transmissions going over state lines
                                                over state lines to
                                                                 to do its business,
                                                                    do its business,

   transmitted funds outside
   transmitted funds         the State
                     outside the State of
                                       of Florida, used electronic
                                          Florida, used            means to
                                                        electronic means to market
                                                                            market

   and run
   and     its business
       run its business in
                        in a
                           a way
                             way that
                                 that was
                                      was not
                                          not limited
                                              limited to
                                                      to Florida, and otherwise
                                                         Florida, and otherwise

   regularly
   regularly engaged in interstate
             engaged in interstate commerce
                                   commerce during
                                            during the
                                                   the relevant
                                                       relevant period.
                                                                period.

          41.
          41.   Physicians Central, upon
                Physicians Central, upon information
                                         information and
                                                     and belief,
                                                         belief, accepted
                                                                 accepted credit
                                                                          credit

   card
   card payments, wire transfers,
        payments, wire            and other
                       transfers, and       forms of
                                      other forms of payments made or
                                                     payments made or processed
                                                                      processed

   outside
   outside the state of
           the state of Florida
                        Florida during
                                during the
                                       the relevant
                                           relevant time
                                                    time period.
                                                         period.

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   7      age
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            42.
            42.     During
                    During her
                           her employment with Physicians
                               employment with            Central, Plaintiff
                                               Physicians Central,           worked
                                                                   Plaintiff worked

   overtime
   overtime hours for which
            hours for which she
                            she was
                                was not
                                    not compensated at a
                                        compensated at a proper
                                                         proper overtime
                                                                overtime rate as
                                                                         rate as

   required
   required by
            by the
               the FLSA.
                   FLSA.

            43.
            43.     Physicians Central did
                    Physicians Central did not
                                           not compensate
                                               compensate Plaintiff for her
                                                          Plaintiff for her overtime
                                                                            overtime

   despite
   despite knowledge
           knowledge of
                     of the
                        the overtime
                            overtime hours
                                     hours Plaintiff worked.
                                           Plaintiff worked.

            44.
            44.     Plaintiff
                    Plaintiff is
                              is owed unpaid overtime
                                 owed unpaid overtime compensation
                                                      compensation pursuant
                                                                   pursuant to
                                                                            to the
                                                                               the

   FLSA.
   FLSA.

            45.
            45.     In addition, Physicians
                    In addition,            Central is
                                 Physicians Central is liable
                                                       liable for
                                                              for double
                                                                  double the
                                                                         the overtime
                                                                             overtime

   amounts owed
   amounts      as liquidated
           owed as liquidated damages under the
                              damages under the FLSA as a
                                                FLSA as a result
                                                          result of
                                                                 of its
                                                                    its

   intentional and
   intentional and willful
                   willful violations
                           violations for
                                      for up
                                          up to
                                             to the
                                                the three-year statute of
                                                    three-year statute of limitations
                                                                          limitations

   afforded by
   afforded by the
               the FLSA.
                   FLSA.

            WHEREFORE, Plaintiff
            WHEREFORE, Plaintiff respectfully
                                 respectfully requests
                                              requests that
                                                       that the Court:
                                                            the Court:

            a. Enter
            a.       judgment for
               Enter judgment for Plaintiff and all
                                  Plaintiff and all others similarly situated
                                                    others similarly situated against
                                                                              against

   Physicians Central under
   Physicians Central under the
                            the FLSA;
                                FLSA;

            b. Award Plaintiff
            b. Award           and all
                     Plaintiff and all others similarly situated
                                       others similarly situated actual
                                                                 actual damages
                                                                        damages for
                                                                                for the
                                                                                    the

   unpaid overtime
   unpaid          wages;
          overtime wages;

            c.
            c.    Award Plaintiff
                  Award           and all
                        Plaintiff and all others similarly situated
                                          others similarly situated liquidated
                                                                    liquidated damages;
                                                                               damages;

            d. Award Plaintiff
            d. Award           and all
                     Plaintiff and all others similarly situated
                                       others similarly situated attorneys'
                                                                 attorneys’ fees
                                                                            fees and
                                                                                 and

   costs;
   costs;

            e.
            e.    Award Plaintiff
                  Award           and all
                        Plaintiff and all others similarly situated
                                          others similarly situated all
                                                                    all recoverable interest;
                                                                        recoverable interest;

   and
   and

            f.
            f.    Award any
                  Award any other
                            other relief
                                  relief this
                                         this Honorable Court deems
                                              Honorable Court       just and
                                                              deems just and proper.
                                                                             proper.

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                                 COUNT II
                                 COUNT II
            OVERTIME VIOLATIONS
            OVERTIME VIOLATIONS AGAINST
                                AGAINST MARK
                                         MARK CERECEDA
                                              CERECEDA UNDER
                                                       UNDER
                      THE FAIR
                      THE FAIR LABOR STANDARDS ACT
                               LABOR STANDARDS  ACT

           46.
           46.   Plaintiff,
                 Plaintiff, on
                            on behalf
                               behalf of
                                      of herself and all
                                         herself and all others similarly situated,
                                                         others similarly situated, re-
                                                                                    re-

   allege and
   allege and incorporate
              incorporate by
                          by reference
                             reference the allegations in
                                       the allegations in paragraphs
                                                          paragraphs 1
                                                                     1 through 37
                                                                       through 37

   above as
   above as if
            if fully
               fully set
                     set forth
                         forth herein.
                               herein.

           47.
           47.   Cereceda
                 Cereceda operated
                          operated the
                                   the day-to-day activities of
                                       day-to-day activities of Defendants’
                                                                Defendants' business,
                                                                            business,

   had supervisory authority
   had supervisory authority over
                             over Plaintiff,
                                  Plaintiff, had
                                             had control/access
                                                 control/access to
                                                                to Plaintiff’s
                                                                   Plaintiffs records
                                                                               records

   for work
   for work hours, and was
            hours, and was partially
                           partially or
                                     or totally
                                        totally responsible
                                                responsible for
                                                            for paying
                                                                paying Plaintiff’s
                                                                       Plaintiffs

   wages.
   wages.

           48.
           48.   Cereceda scrutinized Plaintiff’s
                 Cereceda scrutinized             work and
                                      Plaintiffs work  and controlled
                                                           controlled how
                                                                      how Plaintiff
                                                                          Plaintiff did
                                                                                    did

   her job.
   her job.

           49.
           49.   During
                 During     Plaintiff’s
                            Plaintiffs     employment
                                           employment        with
                                                             with     Defendants,
                                                                      Defendants,   Plaintiff
                                                                                    Plaintiff

   consistently worked for
   consistently worked for Defendants
                           Defendants over
                                      over 40
                                           40 hours
                                              hours per week.
                                                    per week.

           50.
           50.   Cereceda was fully
                 Cereceda was fully aware
                                    aware that
                                          that Plaintiff
                                               Plaintiff consistently worked for
                                                         consistently worked for

   Defendants
   Defendants over
              over 40
                   40 hours
                      hours per week.
                            per week.

           51.
           51.   Despite
                 Despite notice and knowledge,
                         notice and knowledge, Cereceda
                                               Cereceda failed
                                                        failed to
                                                               to investigate
                                                                  investigate or
                                                                              or

   otherwise
   otherwise remedy
             remedy the
                    the due and owing
                        due and owing overtime wages earned
                                      overtime wages earned by
                                                            by Plaintiff.
                                                               Plaintiff.

           52.
           52.   During
                 During her
                        her employment with Physicians
                            employment with            Central, Plaintiff
                                            Physicians Central,           worked
                                                                Plaintiff worked

   overtime
   overtime hours for which
            hours for which she
                            she was
                                was not
                                    not compensated at a
                                        compensated at a proper
                                                         proper overtime
                                                                overtime rate as
                                                                         rate as

   required
   required by
            by the
               the FLSA.
                   FLSA.

           53.
           53.   Plaintiff
                 Plaintiff is
                           is owed unpaid overtime
                              owed unpaid overtime compensation
                                                   compensation pursuant
                                                                pursuant to
                                                                         to the
                                                                            the

   FLSA.
   FLSA.

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            54.
            54.   Cereceda
                  Cereceda did
                           did not
                               not compensate
                                   compensate Plaintiff for her
                                              Plaintiff for her overtime
                                                                overtime despite
                                                                         despite her
                                                                                 her

   knowledge
   knowledge of
             of the
                the overtime
                    overtime hours
                             hours Plaintiff worked.
                                   Plaintiff worked.

            55.
            55.   Cereceda is also
                  Cereceda is also jointly
                                   jointly and
                                           and severally
                                               severally liable for double
                                                         liable for double the
                                                                           the overtime
                                                                               overtime

   amounts owed
   amounts      as liquidated
           owed as liquidated damages under the
                              damages under the FLSA as a
                                                FLSA as a result
                                                          result of
                                                                 of her
                                                                    her

   intentional and
   intentional and willful
                   willful violation
                           violation of
                                     of the
                                        the FLSA for up
                                            FLSA for up to
                                                        to the
                                                           the three-year statute of
                                                               three-year statute of

   limitations afforded
   limitations afforded by
                        by the
                           the FLSA.
                               FLSA.

            WHEREFORE, Plaintiff
            WHEREFORE, Plaintiff respectfully
                                 respectfully requests
                                              requests that
                                                       that the Court:
                                                            the Court:

         a. Enter
         a.       judgment for
            Enter judgment for Plaintiff and all
                               Plaintiff and all others similarly situated
                                                 others similarly situated against
                                                                           against

   Cereceda under the
   Cereceda under the FLSA;
                      FLSA;

         b. Award Plaintiff
         b. Award           and all
                  Plaintiff and all others similarly situated
                                    others similarly situated for actual damages
                                                              for actual damages for
                                                                                 for

   the unpaid overtime
   the unpaid          wages;
              overtime wages;

         c.
         c.   Award Plaintiff
              Award           and all
                    Plaintiff and all others similarly situated
                                      others similarly situated liquidated
                                                                liquidated damages;
                                                                           damages;

         d. Award Plaintiff
         d. Award           and all
                  Plaintiff and all others similarly situated
                                    others similarly situated attorneys'
                                                              attorneys’ fees
                                                                         fees and
                                                                              and

   costs;
   costs;

         e.
         e.   Award Plaintiff
              Award           and all
                    Plaintiff and all others similarly situated
                                      others similarly situated all
                                                                all recoverable interest;
                                                                    recoverable interest;

   and
   and

         f.
         f.   Award any
              Award any other
                        other relief
                              relief this
                                     this Honorable Court deems
                                          Honorable Court       just and
                                                          deems just and proper.
                                                                         proper.

                                          JURY TRIAL
                                          JURY TRIAL

     Plaintiff
     Plaintiff hereby
               hereby requests a trial
                      requests a trial by jury with
                                       by jury with respect
                                                    respect to all claims
                                                            to all        so triable.
                                                                   claims so triable.




   10 |I P
   10      age
         Page
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    Dated: September 22,
    Dated: September 22, 2022
                         2022
                                           Respectfully submitted,
                                           Respectfully submitted,
                                           By: /s/ J.
                                           By: /s/    Freddy Perera
                                                   J. Freddy  Perera
                                           J. Freddy
                                           J. Freddy Perera,
                                                      Perera, Esq.
                                                              Esq.
                                           Florida
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                                           Brody
                                           Brody M.   Shulman, Esq.
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                                           Counsel for Plaintiff
                                           Counsel for Plaintiff




   11 |I P
   11      age
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Filing    159033082 E-Filed 10/11/2022 08:00:38
                    E-Filed 10/11/2022          PM
                                       08:00:38 PM


        IN THE CIRCUIT
        IN THE         COURT OF
               CIRCUIT COURT OF THE
                                THE ELEVENTH
                                    ELEVENTH JUDICIAL
                                             JUDICIAL
        CIRCUIT IN AND
        CIRCUIT IN AND FOR MIAMI-DADE COUNTY,
                       FOR MIAMI-DADE COUNTY, FLORIDA
                                              FLORIDA

       CASE NO:
       CASE NO: 2022-018329-CA-01
                2022-018329-CA-01
       SECTION: CA21
       SECTION: CA21
       JUDGE: David C.
       JUDGE: David C. Miller
                       Miller

        Maria Matos
        Maria Matos
       Plaintiff(s)
       Plaintiff(s)
       vs.
       vs.

        Physicians
        Physicians Central
                   Central Business Office LLC
                           Business Office LLC et
                                               et al
                                                  al
       Defendant(s)
       Defendant(s)
        ____________________________//
                 ORDER TO
                 ORDER    COMPLETE AND
                       TO COMPLETE AND COMPLY WITH CASE
                                       COMPLY WITH CASE SCHEDULING AND
                                                        SCHEDULING AND
                                  MANAGEMENT  ORDER
                                  MANAGEMENT ORDER

           THIS
           THIS CAUSE
                  CAUSE came came before
                                  before the
                                         the Court
                                             Court to
                                                    to review
                                                       review and
                                                                and do
                                                                    do case management. Based
                                                                       case management.   Based on
                                                                                                 on the
                                                                                                    the review
                                                                                                        review
          of the
          of the file,
                 file, and
                        and pursuant
                             pursuant to
                                      to Rule
                                         Rule 2.545,
                                               2.545, Fla.
                                                        Fla. R.
                                                             R. Jud.  Admin., the
                                                                 Jud. Admin.,  the Parties, with the
                                                                                   Parties, with  the Court's
                                                                                                      Court’s
          assistance, if
          assistance,   if necessary, will establish
                           necessary, will establish aa Completed
                                                        Completed CaseCase Scheduling/Management       Order.
                                                                            Scheduling/Management Order.
          Therefore,  it is;
          Therefore, it is;

              ORDERED and
              ORDERED     ADJUDGED as
                      and ADJUDGED as follows:
                                      follows:

             1. The
             1.     Parties shall
                The Parties   shall determine   and complete
                                     determine and  complete the
                                                               the CASE
                                                                   CASE SCHEDULE        below, to
                                                                           SCHEDULE below,      to extent
                                                                                                   extent they
                                                                                                          they can
                                                                                                               can
                agree on
                agree on one
                         one or
                              or all
                                 all of
                                     of the
                                        the To-Dos
                                            To-Dos in  this matter
                                                    in this  matter and
                                                                    and set
                                                                         set the
                                                                             the Deadlines
                                                                                 Deadlines for as many
                                                                                           for as many as
                                                                                                        as can
                                                                                                            can be
                                                                                                                 be
                agreed on.
                agreed on. If
                           If there
                              there is/are  any Deadlines
                                     is/are any Deadlines for   the Parties
                                                            for the Parties To-Dos  that cannot
                                                                            To-Dos that          be agreed
                                                                                         cannot be  agreed on,
                                                                                                            on, the
                                                                                                                the
                Plaintiff’s
                Plaintiff's Counsel
                               Counsel shall shall set
                                                   set aa hearing
                                                          hearing if   necessary for
                                                                    if necessary   for the
                                                                                       the Court
                                                                                            Court toto decide   the
                                                                                                       decide the
                Deadlines.
                Deadlines.
             2. The
             2.       Plaintiff’s Counsel
                The Plaintiff's                 shall file
                                    Counsel shall     file the
                                                            the entire
                                                                 entire completed
                                                                         completed Scheduling/Management
                                                                                       Scheduling/Management Order Order
                as  a  Completed   Case   Scheduling/Management           Order    through  Court
                as a Completed Case Scheduling/Management Order through Court Map for execution    Map    for  execution
                and rendering
                and   rendering by
                                 by the
                                    the Court
                                         Court within
                                                 within 60    days of
                                                         60 days    of the
                                                                       the entry
                                                                            entry ofof the
                                                                                       the Order or the
                                                                                           Order or the appearance
                                                                                                         appearance ofof
                the first
                the  first Defendant
                           Defendant whichever     occurs last.
                                      whichever occurs             The Plaintiff’s
                                                             last. The  Plaintiff's Counsel        will bear
                                                                                         Counsel will   bear the
                                                                                                              the burden
                                                                                                                  burden
                of ensuring
                of  ensuring this
                              this Order
                                   Order isis complied   with and
                                              complied with     and the
                                                                      the entire   scheduling/management order
                                                                           entire scheduling/management       order with
                                                                                                                    with
                completed table
                completed    table of
                                   of to
                                      to dos
                                          dos and
                                               and deadlines
                                                    deadlines is    filed, but
                                                                 is filed,  but that
                                                                                 that will
                                                                                      will not
                                                                                           not determine
                                                                                               determine who
                                                                                                           who may
                                                                                                                 may be
                                                                                                                      be
                ultimately responsible
                ultimately  responsible for   any lack
                                         for any  lack of
                                                       of compliance
                                                           compliance withwith this
                                                                                this Order.
                                                                                     Order.
             3. The
             3.      Parties shall
                The Parties  shall strictly
                                    strictly comply   with the
                                             comply with    the deadlines
                                                                 deadlines in    the Schedule
                                                                             in the             (which shall
                                                                                     Schedule (which    shall supersede
                                                                                                               supersede
                any contrary
                any  contrary or
                               or different
                                   different Trial
                                              Trial Order
                                                    Order Deadline
                                                            Deadline —   – not
                                                                           not as   to the
                                                                                as to  the trial
                                                                                            trial date
                                                                                                  date or
                                                                                                        or date
                                                                                                             date of
                                                                                                                   of the
                                                                                                                      the
                calendar call
                calendar   call which
                                which are     determined by
                                         are determined         the Trial
                                                            by the   Trial Order)
                                                                            Order) andand should
                                                                                           should expect    that the
                                                                                                   expect that   the case
                                                                                                                     case
                will be
                will be tried
                        tried during
                              during the
                                       the anticipated
                                            anticipated trial
                                                        trial period
                                                              period specified,
                                                                       specified, without
                                                                                   without continuances.
                                                                                            continuances. The The parties
                                                                                                                   parties
                cannot agree
                cannot  agree to
                              to extend    the deadlines
                                  extend the   deadlines and
                                                          and cannot    agree to
                                                               cannot agree    to waive
                                                                                  waive any
                                                                                         any portion
                                                                                              portion of
                                                                                                      of the
                                                                                                          the provisions
                                                                                                              provisions
                of this
                of this Order.
                        Order. If
                                If your
                                   your case
                                         case does  not go
                                               does not go to
                                                            to Trial,  it will
                                                                Trial, it will most
                                                                               most probably
                                                                                     probably be
                                                                                               be sent
                                                                                                   sent to
                                                                                                        to Non-Binding
                                                                                                           Non-Binding



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          Arbitration.
          Arbitration.
        4. Procedural
        4.             Requirements: In
           Procedural Requirements:     In addition
                                            addition to
                                                     to strict
                                                        strict adherence
                                                               adherence to
                                                                          to the
                                                                              the Florida
                                                                                   Florida Rules
                                                                                           Rules of
                                                                                                  of Civil
                                                                                                      Civil
           Procedure and
           Procedure and the
                         the Administrative
                             Administrative Orders
                                             Orders of
                                                    of the
                                                       the Court,
                                                           Court, the
                                                                  the parties
                                                                      parties will
                                                                               will be
                                                                                    be required to strictly
                                                                                       required to strictly
           comply with
           comply with the
                       the Completed
                           Completed Case    Scheduling/Management Order.
                                      Case Scheduling/Management        Order.
        5.
        5. The  parties may
           The parties   may not
                              not agree
                                   agree to
                                         to extend
                                            extend any
                                                   any of
                                                       of the
                                                          the deadlines
                                                              deadlines contained
                                                                        contained inin the
                                                                                       the Completed
                                                                                            Completed Case
                                                                                                      Case
           Scheduling/Management Order.
           Scheduling/Management         Order. Deadlines
                                                   Deadlines may
                                                              may only
                                                                   only be
                                                                         be altered
                                                                            altered by
                                                                                     by the
                                                                                         the Court
                                                                                             Court where
                                                                                                   where the
                                                                                                         the
           interests of
           interests of justice
                        justice so
                                so require,
                                   require, upon
                                            upon prompt
                                                 prompt motion,
                                                        motion, notice
                                                                 notice and
                                                                        and hearing.
                                                                            hearing.
        6.
        6. The   following To-Dos
           The following      To-Dos and and Deadlines
                                              Deadlines are   to be
                                                         are to      determined by
                                                                 be determined      Agreement of
                                                                                 by Agreement   of the
                                                                                                   the
           Parties,  filled in,
           Parties, filled  in, and
                                and returned    to the
                                      returned to  the Court for execution
                                                       Court for           and rendering
                                                                 execution and           OR the
                                                                               rendering OR the Court
                                                                                                 Court
           will determine
           will determine andand fill
                                  fill in
                                       in such
                                          such To-Dos
                                               To-Dos and
                                                       and Deadlines:
                                                           Deadlines:




          CASE
          CASE SCHEDULE
               SCHEDULE




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     CASE MANAGEMENT
     CASE MANAGEMENT PROCEDURES
                     PROCEDURES

        7. Duty to
        7. Duty   to Communicate:
                     Communicate: Prior Prior to
                                              to filing
                                                 filing any
                                                         any Motion,
                                                              Motion, counsel    shall confer
                                                                         counsel shall          with each
                                                                                       confer with          other
                                                                                                      each other
           directly in
           directly in good
                       good faith,
                             faith, not
                                     not through
                                         through staff,
                                                   staff, to
                                                          to attempt
                                                              attempt to
                                                                       to narrow   or resolve
                                                                           narrow or  resolve issues.   “In good
                                                                                              issues. "In   good
           faith” means
           faith" means you
                         you are
                              are professional
                                    professional and
                                                 and temperate
                                                      temperate inin your
                                                                      your communications,
                                                                            communications, you
                                                                                              you return
                                                                                                   return phone
                                                                                                           phone
           calls and
           calls and emails in aa timely
                     emails in    timely manner,
                                          manner, and
                                                   and you
                                                        you do
                                                             do not
                                                                 not set
                                                                     set unreasonable
                                                                         unreasonable deadlines  for responses.
                                                                                       deadlines for responses.
        8. Scheduling of
        8. Scheduling   of Hearings:
                           Hearings: Motions
                                       Motions filed    (other than
                                                 filed (other   than dispositive
                                                                      dispositive motions
                                                                                  motions or
                                                                                          or those
                                                                                             those requiring
                                                                                                   requiring
           testimony) must  be noticed for hearing  on  the first available motion calendar. The Court
           testimony) must be noticed for hearing on the first available motion calendar. The Court maymay
           rule upon
           rule upon the
                     the Motions
                         Motions on
                                  on the
                                     the papers
                                         papers filed
                                                filed for  the Court's
                                                       for the  Court's review.
                                                                        review.
        9.
        9. Compelling  Discovery where
           Compelling Discovery    where there
                                          there has
                                                 has been
                                                     been no
                                                           no response:
                                                              response: The   parties are
                                                                         The parties  are to
                                                                                           to comply  with
                                                                                              comply with
           Administrative Order
           Administrative Order 06-09
                                 06-09 when
                                       when moving
                                              moving toto compel
                                                          compel production
                                                                  production of
                                                                             of propounded
                                                                                propounded discovery.
                                                                                                discovery.
           These  Motions shall
           These Motions  shall be
                                be submitted
                                   submitted via
                                             via CourtMAP
                                                 CourtMAP with
                                                             with supporting
                                                                  supporting documents
                                                                             documents andand shall
                                                                                               shall not
                                                                                                     not be
                                                                                                         be
           placed on
           placed on Motion
                     Motion Calendar.
                            Calendar.
       10. Motions
       10. Motions forfor Protective   Order: Motions
                          Protective Order:     Motions forfor Protective
                                                               Protective Order
                                                                            Order must
                                                                                  must bebe filed
                                                                                            filed as
                                                                                                  as soon
                                                                                                      soon asas the
                                                                                                                the
           grounds are
           grounds    are known.
                           known. Counsel
                                       Counsel should
                                                  should be be coordinating
                                                                 coordinating deposition      dates for
                                                                                deposition dates            specific
                                                                                                      for specific
           parties/witnesses and
           parties/witnesses   and have
                                   have aa duty  to confer
                                           duty to            regarding any
                                                    confer regarding      any issues
                                                                              issues that
                                                                                      that would
                                                                                           would be
                                                                                                  be the
                                                                                                      the subject
                                                                                                           subject
           of aa motion
           of    motion for
                         for protective
                             protective order
                                         order prior
                                               prior to
                                                     to scheduling
                                                         scheduling the
                                                                      the deposition.
                                                                          deposition. The
                                                                                       The filing
                                                                                            filing of
                                                                                                   of the
                                                                                                       the motion
                                                                                                           motion
           must not
           must        be delayed
                  not be  delayed until
                                    until immediately
                                          immediately prior
                                                          prior to
                                                                to the
                                                                    the scheduled
                                                                         scheduled deposition.
                                                                                    deposition. A A motion
                                                                                                      motion forfor
           protective order
           protective  order does
                              does not
                                   not automatically
                                        automatically stay
                                                        stay the
                                                             the deposition
                                                                  deposition and
                                                                              and the
                                                                                  the deposition
                                                                                       deposition shall
                                                                                                   shall proceed
                                                                                                          proceed
           unless an
           unless  an order
                      order granting
                            granting the
                                      the motion
                                          motion is
                                                  is entered
                                                     entered by
                                                              by the
                                                                  the Court.
                                                                      Court.
       11. Motions
       11.           for Extension:
           Motions for    Extension: All All Motions
                                              Motions forfor Extension    of Time
                                                               Extension of  Time SHALL
                                                                                      SHALL BE BE SET
                                                                                                   SET TO
                                                                                                        TO BE BE
           HEARD WITHIN
           HEARD     WITHIN 7   7 DAYS
                                  DAYS OF OF THE
                                               THE MOTION
                                                      MOTION BEINGBEING FILED
                                                                           FILED and and the
                                                                                         the Motion
                                                                                             Motion must
                                                                                                     must state
                                                                                                           state
           with specificity
           with specificity the
                             the reason
                                 reason why
                                        why Extension
                                              Extension is is needed,
                                                              needed, the
                                                                      the anticipated
                                                                          anticipated deadline
                                                                                       deadline for
                                                                                                for completion,
                                                                                                    completion,
           and any
           and  any extraordinary
                     extraordinary oror compelling     reasons to
                                         compelling reasons      to grant
                                                                     grant relief.
                                                                           relief. The   Court may
                                                                                    The Court   may rule   upon
                                                                                                     rule upon
           submission of
           submission  of the
                           the Motion
                                Motion without
                                         without aa hearing.
                                                     hearing. All
                                                                All Motions
                                                                    Motions for
                                                                              for Extension   of Time
                                                                                   Extension of        must be
                                                                                                  Time must   be
           preceded  by aa meet
           preceded by     meet andand confer
                                        confer withwith opposing
                                                         opposing counsel
                                                                    counsel and
                                                                             and absent
                                                                                   absent agreement,
                                                                                          agreement, be
                                                                                                      be set
                                                                                                         set for
                                                                                                             for
           hearing immediately
           hearing                 upon filing.
                    immediately upon              Counsel should
                                         filing. Counsel     should be
                                                                     be prepared
                                                                        prepared to to respond
                                                                                       respond promptly
                                                                                                promptly if
                                                                                                          if the
                                                                                                             the
           Motion is
           Motion  is Denied.
                      Denied. The
                                The failure   to timely
                                     failure to  timely set
                                                          set the
                                                              the Motion   for Extension
                                                                  Motion for   Extension to to be
                                                                                               be heard will be
                                                                                                  heard will  be
           deemed   a waiver   of any attempt    to get an   Extension.
           deemed a waiver of any attempt to get an Extension.
       12. Dispositive
       12. Dispositive Motions:
                          Motions: Motions
                                     Motions which
                                               which may
                                                      may dispose
                                                            dispose of
                                                                    of specific
                                                                       specific issues,
                                                                                issues, portions
                                                                                        portions of
                                                                                                  of the
                                                                                                     the case
                                                                                                         case or
                                                                                                              or
           the entire
           the entire case
                        case should
                             should be
                                     be filed
                                         filed and
                                               and set
                                                   set for  hearing as
                                                        for hearing as soon
                                                                        soon as
                                                                              as possible.
                                                                                 possible. Parties
                                                                                            Parties wishing
                                                                                                      wishing to
                                                                                                              to
           pursue aa dispositive
           pursue      dispositive motion
                                    motion should
                                            should target
                                                    target the
                                                           the essential discovery promptly.
                                                               essential discovery  promptly. Parties
                                                                                                 Parties should
                                                                                                         should
           confer
           confer to  to assure
                         assure necessary
                                 necessary discovery
                                            discovery is  scheduled to
                                                       is scheduled  to be
                                                                        be completed
                                                                           completed andand will
                                                                                            will be
                                                                                                  be completed
                                                                                                      completed
           prior to
           prior to aa special
                       special set
                               set hearing
                                   hearing date.  Last minute
                                            date. Last minute cancellations
                                                               cancellations are
                                                                             are NOT
                                                                                 NOT ALLOWED.
                                                                                        ALLOWED.



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       13. Amendment
       13. Amendment of  of Pleadings:   Motions to
                            Pleadings: Motions      to amend
                                                       amend should
                                                              should be be filed so as
                                                                           filed so as not
                                                                                       not to
                                                                                           to affect
                                                                                              affect the
                                                                                                     the date
                                                                                                         date of
                                                                                                              of
           trial. Although
           trial. Although the
                             the Court
                                  Court recognizes
                                         recognizes thethe rule
                                                           rule of
                                                                 of liberality   with regard
                                                                     liberality with          to amendment
                                                                                      regard to  amendment of of
           pleadings, liberality declines  with  an  approaching   trial date  unless the amendment
           pleadings, liberality declines with an approaching trial date unless the amendment involves involves
           newly discovered
           newly              information not
                  discovered information   not previously
                                                previously available.
                                                            available. Review
                                                                         Review your
                                                                                  your pleadings
                                                                                       pleadings for
                                                                                                  for necessary
                                                                                                      necessary
           amendment(s) early,
           amendment(s)          not as
                          early, not as part
                                        part of
                                             of last-minute
                                                last-minute trial
                                                             trial preparation.
                                                                   preparation.



       14. Objections:
       14. Objections: If   objections to
                         If objections to written
                                          written discovery
                                                   discovery involve
                                                               involve the
                                                                        the phrasing
                                                                            phrasing of
                                                                                     of the
                                                                                         the request
                                                                                             request oror time
                                                                                                          time
           frame of any
           frame of any discovery
                         discovery request,  these objections
                                    request, these  objections may
                                                                may not
                                                                      not be extended even
                                                                          be extended   even ifif the
                                                                                                  the parties
                                                                                                       parties
           agree  and are
           agree and   are due  at the
                           due at  the time
                                       time the
                                             the initial
                                                  initial response  is due.
                                                          response is  due. Failure    to timely
                                                                              Failure to   timely file
                                                                                                    file these
                                                                                                         these
           objections shall
           objections shall be  deemed an
                             be deemed      express waiver
                                         an express   waiver ofof the
                                                                  the objection.
                                                                      objection. Parties
                                                                                  Parties shall
                                                                                           shall comply   with
                                                                                                 comply with
           the "Duty
           the “Duty to
                     to Communicate"
                        Communicate” above,
                                        above, prior
                                                prior to
                                                      to setting
                                                         setting timely
                                                                 timely made
                                                                         made objections
                                                                              objections for
                                                                                          for hearing.
                                                                                              hearing.
       15. Documents
       15. Documents made          available for
                          made available      for inspection
                                                   inspection andand copying:
                                                                       copying: If     discovery responses
                                                                                   If discovery   responses provide
                                                                                                              provide
           that the
           that the documents
                    documents are   are available
                                        available for
                                                  for inspection
                                                        inspection and
                                                                    and copying
                                                                          copying atat aa mutually
                                                                                          mutually convenient    time
                                                                                                    convenient time
           and place,
           and  place, the
                       the responding
                            responding party
                                          party shall
                                                shall immediately
                                                       immediately (within
                                                                      (within 48
                                                                               48 hours)
                                                                                   hours) provide
                                                                                           provide three
                                                                                                    three alternative
                                                                                                          alternative
           dates and
           dates and times
                      times that
                               that the
                                    the documents
                                        documents are
                                                    are available
                                                          available for
                                                                    for inspection
                                                                        inspection andand copying.   All of
                                                                                          copying. All   of the
                                                                                                            the dates
                                                                                                                dates
           shall be
           shall be within
                    within tenten (10)
                                  (10) days.
                                        days. Failure
                                               Failure toto provide
                                                            provide the
                                                                    the dates
                                                                         dates and
                                                                                and times
                                                                                     times shall
                                                                                           shall constitute
                                                                                                 constitute aa failure
                                                                                                               failure
           to respond
           to respond toto discovery.
                           discovery. Review
                                         Review shall
                                                  shall occur
                                                          occur within
                                                                within fifteen
                                                                         fifteen (15)
                                                                                 (15) days
                                                                                       days of
                                                                                            of the
                                                                                               the response,
                                                                                                    response, absent
                                                                                                               absent
           extraordinary circumstances.
           extraordinary    circumstances. Examples
                                               Examples of   of "extraordinary
                                                                “extraordinary circumstances”        include aa sole
                                                                                  circumstances" include          sole
           practitioner in
           practitioner      trial on
                         in trial  on another
                                       another case,
                                                case, aa medical
                                                          medical emergency,     prepaid vacation,
                                                                   emergency, prepaid      vacation, and
                                                                                                      and aa death
                                                                                                             death in
                                                                                                                    in
           the family.
           the family.
       16. Privilege
       16.           Logs: Privilege
           Privilege Logs:  Privilege logs
                                       logs are
                                             are due at the
                                                 due at the time
                                                            time of
                                                                 of the
                                                                    the response  and may
                                                                        response and  may not
                                                                                           not be
                                                                                               be reserved
                                                                                                  reserved to
                                                                                                           to
           be provided
           be provided later. Privilege logs
                       later. Privilege   logs must
                                               must specifically
                                                     specifically identify  the document
                                                                  identify the  document in
                                                                                          in accordance
                                                                                             accordance with
                                                                                                         with
           Rule 1.280(b)(6),
           Rule  1.280(b)(6), Fla.R.Civ.P,
                              Fla.R.Civ.P, ANDAND TheThe item
                                                           item must
                                                                 must atat least
                                                                            least be described by
                                                                                  be described       Author,
                                                                                                 by Author,
           primarily Recipient
           primarily  Recipient andand all   those copied,
                                         all those  copied, date,
                                                              date, nature
                                                                     nature ofof document,
                                                                                  document, and    the same
                                                                                              and the   same
           information as
           information  as to
                           to all
                              all attachments
                                  attachments printed
                                                 printed out
                                                          out or
                                                               or opened
                                                                  opened inin records
                                                                              records for view.
                                                                                      for view.
       17. The
       17.      failure to
           The failure   to timely
                             timely provide   the privilege
                                      provide the privilege log
                                                              log will
                                                                  will result in the
                                                                       result in the waiver
                                                                                      waiver of
                                                                                              of the
                                                                                                 the privilege.
                                                                                                      privilege.
           This  procedure requires
           This procedure      requires preparation
                                         preparation of
                                                      of aa privilege
                                                             privilege log  with respect
                                                                        log with           to all
                                                                                   respect to   all documents,
                                                                                                    documents,
           electronically stored
           electronically  stored information,
                                   information, things
                                                things and
                                                        and oral
                                                             oral communications
                                                                  communications withheld
                                                                                    withheld on
                                                                                              on the
                                                                                                  the basis
                                                                                                      basis of
                                                                                                            of aa
           claim of
           claim  of privilege
                     privilege oror work
                                     work product
                                           product except
                                                   except the
                                                           the following:
                                                                following: written
                                                                            written and
                                                                                     and oral
                                                                                         oral communications
                                                                                               communications
           between aa party
           between      party and
                                and their
                                     their counsel
                                           counsel after
                                                    after commencement
                                                          commencement of   of the
                                                                                the action
                                                                                    action and
                                                                                           and work
                                                                                                  work product
                                                                                                        product
           material created
           material  created after
                               after commencement
                                     commencement of  of the
                                                         the action
                                                             action and
                                                                     and solely
                                                                         solely kept
                                                                                 kept between
                                                                                      between them
                                                                                                them and
                                                                                                      and staff,
                                                                                                           staff,
           experts, etc.
           experts, etc.

            Parties are
            Parties are instructed
                         instructed that
                                      that where
                                           where they
                                                    they believe
                                                          believe that
                                                                   that the
                                                                        the divulgence
                                                                            divulgence of of the
                                                                                              the logging
                                                                                                   logging information
                                                                                                             information
            would necessarily
            would   necessarily cause
                                    cause disclosure
                                            disclosure of  of the
                                                              the allegedly
                                                                   allegedly privileged
                                                                                privileged information,
                                                                                             information, theythey must
                                                                                                                    must
            identify  that   the  item   exists  and    that in  camera    review    by  the   court
            identify that the item exists and that in camera review by the court will be sought.       will  be  sought.
            However, if
            However,    if the
                            the Court
                                 Court determines
                                         determines thatthat there
                                                             there is  nothing inherent
                                                                    is nothing   inherent inin the
                                                                                                the divulgence
                                                                                                      divulgence ofof the
                                                                                                                      the
            existence of
            existence  of the
                           the document
                                document or or the
                                                the logging
                                                      logging information
                                                               information required
                                                                             required that
                                                                                        that would
                                                                                             would violate
                                                                                                       violate privilege,
                                                                                                               privilege,
            the Court
            the Court will
                        will impose
                              impose sanctions
                                        sanctions for    any in
                                                     for any     camera request
                                                              in camera   request determined
                                                                                    determined to   to be
                                                                                                       be frivolous.
                                                                                                           frivolous. In
                                                                                                                       In
            camera requests
            camera   requests by       the party
                                   by the    party claiming
                                                       claiming the
                                                                  the privilege
                                                                       privilege must
                                                                                    must be      signed by
                                                                                           be signed       by both    the
                                                                                                               both the
            requesting
            requesting attorney
                          attorney andand the
                                           the client,
                                                 client, to
                                                          to assure   that all
                                                             assure that        are aware
                                                                            all are  aware of of the
                                                                                                  the request
                                                                                                       request and    the
                                                                                                                 and the
            consequences.
            consequences.




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       18. Expert
       18.           Disclosure: Parties
           Expert Disclosure:       Parties should
                                            should furnish
                                                   furnish opposing
                                                           opposing counsel
                                                                       counsel with
                                                                                 with the
                                                                                       the names
                                                                                            names and
                                                                                                   and addresses
                                                                                                       addresses
           of all
           of all expert
                  expert witness
                           witness under
                                    under Rule
                                           Rule 1.390(a)
                                                1.390(a) to
                                                         to be
                                                             be called
                                                                 called at
                                                                        at trial
                                                                           trial and
                                                                                 and all
                                                                                      all information
                                                                                          information regarding
                                                                                                       regarding
           expert testimony
           expert  testimony that
                               that is
                                    is required by Rule
                                       required by Rule 1.280(b)(5).
                                                        1.280(b)(5). Each    party is
                                                                       Each party      limited to
                                                                                    is limited to one
                                                                                                  one expert
                                                                                                      expert per
                                                                                                             per
           specialty. No
           specialty.   No other
                             other expert  testimony should
                                   expert testimony   should bebe permitted
                                                                   permitted atat trial.
                                                                                  trial. Information
                                                                                          Information furnished
                                                                                                       furnished
           pursuant to
           pursuant   to this
                         this paragraph
                              paragraph should
                                         should be
                                                be timely
                                                   timely filed.
                                                          filed.
       19. Depositions:
       19. Depositions: The   parties are
                          The parties are ordered
                                           ordered to
                                                   to block
                                                      block time
                                                            time now
                                                                  now for necessary depositions
                                                                      for necessary depositions to
                                                                                                 to be
                                                                                                    be set
                                                                                                       set in
                                                                                                           in
           this case
           this case Expert  deposition time
                     Expert deposition   time should
                                               should be
                                                       be coordinated
                                                          coordinated and
                                                                       and blocked
                                                                           blocked as
                                                                                    as soon
                                                                                       soon as
                                                                                             as experts
                                                                                                experts are
                                                                                                         are
           known to
           known   to ensure compliance with
                      ensure compliance    with this
                                                this schedule.
                                                     schedule. Depositions
                                                                 Depositions may
                                                                             may commence
                                                                                  commence at at any
                                                                                                  any time.
                                                                                                      time.
           Refer to
           Refer to the
                    the above
                        above regarding
                              regarding motions
                                          motions for
                                                   for protective
                                                       protective order.
                                                                  order.
       20. Witness
       20. Witness andand Exhibit     Lists: The
                            Exhibit Lists:         parties shall
                                              The parties   shall timely
                                                                   timely exchange
                                                                           exchange their
                                                                                      their witness
                                                                                              witness and
                                                                                                      and exhibit
                                                                                                          exhibit
           lists. The
           lists. The lists  shall include
                       lists shall include complete  proper names
                                           complete proper    names andand addresses.
                                                                           addresses. If  counsel chooses
                                                                                       If counsel          to list
                                                                                                   chooses to list
           their bar
           their  bar address
                      address asas the
                                   the witness'
                                       witness’ address,
                                                address, counsel
                                                          counsel is is deemed
                                                                        deemed toto have
                                                                                    have agreed
                                                                                          agreed to
                                                                                                  to produce
                                                                                                     produce the
                                                                                                              the
           witness voluntarily
           witness   voluntarily as
                                  as they
                                     they have
                                          have withheld
                                                withheld the
                                                          the information    necessary for
                                                               information necessary    for aa witness
                                                                                               witness subpoena,
                                                                                                       subpoena,
           and counsel
           and           will be
                counsel will   be responsible
                                  responsible for
                                              for assuring
                                                  assuring that
                                                            that witness'
                                                                 witness’ presence
                                                                            presence at
                                                                                     at trial.
                                                                                        trial.
       21. Mediation:
       21.              Parties must
           Mediation: Parties    must mediate
                                       mediate by
                                                by the
                                                    the Court's
                                                        Court’s deadline.
                                                                deadline. The   parties are
                                                                           The parties  are responsible  for
                                                                                            responsible for
           assuring that
           assuring that they
                          they have
                                have all
                                       all the
                                           the necessary
                                                necessary information   to value
                                                           information to  value their
                                                                                  their position
                                                                                         position prior
                                                                                                   prior to
                                                                                                          to
           mediation. If
           mediation.       the parties
                         If the parties fail
                                        fail to
                                             to mediate
                                                mediate before
                                                         before the
                                                                the mediation
                                                                    mediation deadline,
                                                                               deadline, sanctions
                                                                                          sanctions will
                                                                                                     will be
                                                                                                           be
           imposed by
           imposed  by the
                         the Court.
                              Court. Failure
                                        Failure to
                                                 to Mediate
                                                     Mediate will
                                                              will not
                                                                   not constitute
                                                                       constitute just
                                                                                   just cause
                                                                                         cause for
                                                                                                for aa Trial
                                                                                                       Trial
           Continuance.
           Continuance.
       22. "Frustrated
       22. “Frustrated Lawyer/Pro-Se
                       Lawyer/Pro-Se Rule"
                                     Rule”

            Please see the
            Please see      11th Judicial
                        the 11th Judicial Circuit
                                          Circuit in
                                                  in and for Miami-Dade
                                                     and for Miami-Dade County      Division 21
                                                                             County Division 21 website
                                                                                                  website
            – for
            — for assistance scheduling anything
                  assistance scheduling            the other(s)
                                          anything the other(s) in the file
                                                                in the      are making
                                                                       file are making difficult.
                                                                                       difficult.

    DONE and
    DONE  and ORDERED
              ORDERED in
                      in Chambers
                         Chambers at
                                  at Miami-Dade
                                     Miami-Dade County,
                                                County, Florida
                                                        Florida on
                                                                on this
                                                                   this 11th
                                                                        11th day
                                                                             day of
                                                                                 of October.,
                                                                                    October,
    2022.
    2022.


                                                                 2022—                                '7   Pis.,




                                                                  2022-018329-CA-01 10-11-2022
                                                                  2022-018329-CA-01   10-11-2022 7:59
                                                                                                 7:59 PM
                                                                                                      PM
                                                                   Hon. David
                                                                   Hon. David C.
                                                                              C. Miller
                                                                                 Miller
                                                                    CIRCUIT
                                                                    CIRCUIT COURT        JUDGE
                                                                               COURT JUDGE
                                                                    Electronically
                                                                    Electronically Signed
                                                                                   Signed



      No Further
      No Further Judicial Action Required
                 Judicial Action Required on
                                          on THIS MOTION
                                             THIS MOTION

      CLERK TO
      CLERK TO RECLOSE
               RECLOSE CASE
                       CASE IF POST JUDGMENT
                            IF POST JUDGMENT


    Electronically
    Electronically Served:
                   Served:
    Jorge
    Jorge Freddy Perera, freddy@pba-law.com
          Freddy Perera, freddy@pba-law.com


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    Jorge Freddy Perera,
    Jorge Freddy Perera, admin@pba-law.com
                         admin@pba-law.com
    Jorge Freddy Perera,
    Jorge Freddy Perera, admin3@pba-law.com
                         admin3@pba-law.com



    Physically Served:
    Physically Served:




Case No:
Case No: 2022-018329-CA-01
         2022-018329-CA-01                                                   Page 66 of
                                                                             Page    of 66
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Filing              E-Filed 10/12/2022
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                                       04:14:13 PM
                            10/12/2022 04:14:13
                                                       RETURN OF SERVICE


   State of Florida                                        County of Miami-Dade                                                  Circuit Court

   Case Number: 2022-018329-CA-01

   Plaintiff:
   MARIA MATOS
                                                                                                                          1111111111111
                                                                                                                                 IIIIII
                                                                                                                        OJF2022022190
   VS.

   Defendant:
   PHYSICIANS CENTRAL BUSINESS OFFICE, LLC., ET AL

   For:
   BRODY M. SHULMAN
   PERERA ALEMAN PLLC
   12401 ORANGE DR
   SUITE 123
   DAVIE, FL 33330

   Received by OJF SERVICES, INC. on the 10th day of October, 2022 at 1:23 pm to be served on PHYSICIANS CENTRAL
   BUSINESS OFFICE, LLC., 815 NW 57 AVE., STE. 405, MIAMI, FL 33126.

   I, GREG SCHULTE, do hereby affirm that on the 11th day of October, 2022 at 11:20 am, I:

   CORPORATE SERVED: by delivering a true copy of the SUMMONS AND COMPLAINT with the date and hour of service
   endorsed thereon by me, to: SHIRLEY VIERA EMPLOYEE OF MARK A. CERECEDA, registered agent for PHYSICIANS
   CENTRAL BUSINESS OFFICE, LLC., at the address of: 815 NW 57 AVE., STE. 405, MIAMI, FL 33126, and informed
   said person of the contents therein, in compliance with either federal or state statutes.




   I CERTIFY THAT I AM OVER THE AGE OF 18, HAVE NO INTEREST IN THE ABOVE ACTION, AND THAT I AM A
   CERTIFIED PROCESS SERVER, IN GOOD STANDING, IN THE JUDICIAL CIRCUIT IN WHICH THE PROCESS WAS
   SERVED. "UNDER PENALTY OF PERJURY, I DECLARE THAT I HAVE READ THE FOREGOING (DOCUMENT) AND
   THAT THE FACTS STATED IN IT ARE TRUE, 92.525. ELECTRONIC SIGNATURES ARE NOW PERMITTED
   PURSUANT TO FLORIDA STATUTE 48.21. NOTARY ARE NOT REQUIRED PURSUANT TO F.S. 92.525(2).




                                                                                                GREG SCHUL
                                                                                                CPS #245

                                                                                                OJF SERVICES, INC.
                                                                                                13727 S.W. 152nd Street
                                                                                                P.M.B. 354
                                                                                                Miami, FL 33177
                                                                                                (786) 293-5750

                                                                                                Our Job Serial Number: OJF-2022022190


                                     Copyright © 1992-2022 DreamBuilt Software. Inc. - Process Server's Toolbox V8.2k
       Case 1:22-cv-23542-PAS Document 1-1 Entered on FLSD Docket 10/31/2022 Page 23 of 29
      Filing # 158540996 E-Filed 10/04/2022 11:26:14 AM


                        IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                                IN AND FOR MIAMI-DADE COUNTY, FLORIDA

                                               CASE NO.: 2022-018329-CA-01

              MARIA MATOS,
              and all others similarly situated under
              29 U.S.C. §216(b),


                      Plaintiff(s),
              VS.


              PHYSICIANS CENTRAL BUSINESS OFFICE, LLC,
              a Florida For-Profit Corporation, and
              MARK A. CERECEDA, individually,

                     Defendants.



                                                         SUMMONS
             THE STATE OF FLORIDA:
             To Each Sheriff of Said State:


                    YOU ARE HEREBY COMMANDED to serve this Summons and a copy of Complaint
             to Defendant:


                                      PHYSICIANS CENTRAL BUSINESS OFFICE, LLC
                                           THROUGH ITS REGISTERED AGENT:
                                                   Mark A. Cereceda
                                              815 NW 57th Avenue, Suite 405
                                                    Miami, FL 33126


                     Defendant is required to serve written defenses to the Complaint on Plaintiffs' counsel,
             whose name and address is: J. Freddy Perera, Esq. and Brody M. Shulman, Esq., Perera
             Aleman, P.A. 12505 Orange Drive, Suite 908 Davie, FL 33330 within 20 calendar days after
             service of this summons on that Defendant, exclusive of the day of service, and to file the original
             of the defenses with the Clerk of the Court either before service on Plaintiffs' attorney or
             immediately thereafter. If a Defendant fails to do so, a default will be entered against that
             Defendant for the relief demanded in the complaint or petition.




'I'
Case 1:22-cv-23542-PAS Document 1-1 Entered on FLSD Docket 10/31/2022 Page 24 of 29




             DATED ON            10/7/2022       .   2021.


                                                      SHARON R. BOCK                            Pp
                                                                                          3DitiNN E

                                                                                                     \
                                                      By:
                                                                                          iMK        /
                                                             As Deputy Clerk
                                                                                           coon''.



                                                 SUMMONS:
                             PERSONAL SERVICE OF A CORPORATION
                                                IMPORTANT
             A lawsuit has been filed against you. You have 20 calendar days after this summons is
     served upon you to file a written response to the attached Complaint in this Court. A phone call
     will not protect you. Your written response, including the above case number and named parties,
     must be filed if you want the Court to hear your case. If you do not file your response on time,
     you may lose the case, and your wages, money and property may thereafter be taken without
     further warning from the Court. There are other legal requirements. You may want to call an
     attorney right away. If you do not know an attorney, you may call an attorney referral service or
     a legal aid office (listed in the phone book).
            If you choose to file a written response yourself, at the same time you file your written
     response to the Court you must also mail or take a carbon copy or photocopy of your written
     response to the "Plaintiffs/Plaintiffs Attorney" named below.
                                               IMPORTANTE
              Usted ha sido demandado legalmente. Tiene veinte (20) dias, contados a partir del recibo
     de esta notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal.
     Una Ilamada telefonica no lo protegera; si usted desea que el escrito, incluyendo el numero del
     caso y los nombres de las panes interesadas en dicho caso. Si usted no contesta la demanda a
     tiempo, pudiese perder el caso y podria ser despojado de sus ingresos y propiedades, o priva de
     sus derechos, sin previo aviso del tribunal. Existen otros requisitos legates. Si lo desea puede
     usted consultar a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a una de
     las oficinas de asistencia legal que aparecen en la guia telefonica.
            Si desea responder a la demanda pro su cuenta, al mismoi tiempo en que presents su
     respuesta ante el tribunal, debera usted enviar por correo o entregar una copia du su respuesta a la
     persona denominada abajo como "Plaintiffs/Plaintiffs"s Attorney." (Demandante o Abogado de
     Demandante).
Case 1:22-cv-23542-PAS Document 1-1 Entered on FLSD Docket 10/31/2022 Page 25 of 29




                                                 IMPORTANT
               Des poursuites judiciaries ont ele entreprises contre vous. Vous avez 20 jours consecutifs
      a partir de la date de l'assignation de cet'te citation pour deposser une response ecite a la plainte
      cijointe aupres de ce Tribunal. Un simple coup de telephone est insuffisant pour vous proteger;
      vous etes oblige de deposer votre reponse ecrite, ave mention du numero de dossier ci-dessus et
      du nom des parties nommees ici, si vous souhaitez que le Tribunal entende votre cause. Si cous
      ne deposez pas votre reponse ecrite dans le relai requis, vous resiquez de perdre la cause ainsi que
      votre salaire, votre argent, et vos biens peuvent tere saisis par la suite, sans aucun preavis ulterieur
      du Tribunal. II a d' autres obligations juridiques et vous pouvez requerir les services immediates
      dun avocat. Si vous ne connaissez pas d'avocats, you pourriez telephoner a un service de reference
      d'avocats ou a un brueau d'assistance juridique (figurant a I'annuaire de telephones).
            Si vous choisissez de deposer vous-meme une reponse ecrite, II vous faudra egalement, en
     meme tempos que cette formalite, faire parvenir ou expedier une copie au carbone ou une
     photocopie de votre reponse ecrite au "Plaintiffs/Plaintiffs"s Attorney" (Plaignant ou a son
     avocate) nomme ci-dessous.


      Filed By:      J. Freddy Perera, Esq.
                     Fla. Bar No.: 93625
                     Brody M. Shulman, Esq.
                     Fla. Bar No.: 92044

     Address:        Perera Aleman, P.A.
                     12505 Orange Drive
                     Suite 908
                     Davie, FL 33330
                     (786) 485-5232
         Case 1:22-cv-23542-PAS Document 1-1 Entered on FLSD Docket 10/31/2022 Page 26 of 29
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Filing              E-Filed 10/12/2022
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                            10/12/2022 04:14:13
                                                       RETURN OF SERVICE


   State of Florida                                        County of Miami-Dade                                                 Circuit Court

   Case Number: 2022-018329-CA-01

   Plaintiff:
   MARIA MATOS
   VS.
                                                                                                                           IIII!I2I01
                                                                                                                                 121!11111
                                                                                                                                       II
   Defendant:
   PHYSICIANS CENTRAL BUSINESS OFFICE, LLC., ET AL

   For:
   BRODY M. SHULMAN
   PERERA ALEMAN PLLC
   12401 ORANGE DR
   SUITE 123
   DAVIE, FL 33330

   Received by OJF SERVICES, INC. on the 10th day of October, 2022 at 1:23 pm to be served on MARK A. CERECEDA, 815
   NW 57 AVE., STE. 405, MIAMI, FL 33126.

   I, GREG SCHULTE, do hereby affirm that on the 11th day of October, 2022 at 11:20 am, I:

   AUTHORIZED: served by delivering a true copy of the SUMMONS AND COMPLAINT with the date and hour of service
   endorsed thereon by me, to: SHIRLEY VIERA as AUTHORIZED AGENT, who stated they are authorized to accept
   service for: MARK A. CERECEDA at the address of: 815 NW 57 AVE., STE. 405, MIAMI, FL 33126, and informed said
   person of the contents therein, in compliance with state statutes.

   Additional Information pertaining to this Service:
   THE ATTORNEY GAVE THE RECIPIENT AUTHORIZATION TO ACCEPT SERVICE


   I CERTIFY THAT I AM OVER THE AGE OF 18, HAVE NO INTEREST IN THE ABOVE ACTION, AND THAT I AM A
   CERTIFIED PROCESS SERVER, IN GOOD STANDING, IN THE JUDICIAL CIRCUIT IN WHICH THE PROCESS WAS
   SERVED. "UNDER PENALTY OF PERJURY, I DECLARE THAT I HAVE READ THE FOREGOING (DOCUMENT) AND
   THAT THE FACTS STATED IN IT ARE TRUE, 92.525. ELECTRONIC SIGNATURES ARE NOW PERMITTED
   PURSUANT TO FLORIDA STATUTE 48.21. NOTARY ARE NOT REQUIRED PURSUANT TO F.S. 92.525(2).




                                                                                               GREG SCHU               E
                                                                                               CPS #245

                                                                                               OJF SERVICES, INC.
                                                                                               13727 S.W. 152nd Street
                                                                                               P.M.B. 354
                                                                                               Miami, FL 33177
                                                                                               (786) 293-5750

                                                                                               Our Job Serial Number: OJF-2022022191


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                 IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                         IN AND FOR MIAMI-DADE COUNTY, FLORIDA

                                         CASE NO.: 2022-018329-CA-01

        MARIA MATOS,
        and all others similarly situated under
        29 U.S.C. §216(b),


                Plaintiff(s),                                                                                  (
        VS.


        PHYSICIANS CENTRAL BUSINESS OFFICE, LLC,
        a Florida For-Profit Corporation, and
        MARK A. CERECEDA, individually,

               Defendants.



                                                   SUMMONS

        THE STATE OF FLORIDA:
        To Each Sheriff of Said State:


               YOU ARE HEREBY COMMANDED to serve this Summons and a copy of Complaint                           trik7
        to Defendant:

                                                                                               1(              ri)
                                              Mark A. Cereceda
                                         815 NW 57th Avenue, Suite 405                                    (it C61 I
                                               Miami, FL 33126


                Defendant is required to serve written defenses to the Complaint on Plaintiffs' counsel,
        whose name and address is: J. Freddy Perera, Esq. and Brody M. Shulman, Esq., Perera
        Aleman, P.A. 12505 Orange Drive, Suite 908, Davie, FL 33330 within 20 calendar days after
        service of this summons on that Defendant, exclusive of the day of service, and to file the original
        of the defenses with the Clerk of the Court either before service on Plaintiffs' attorney or
        immediately thereafter. If a Defendant fails to do so, a default will be entered against that
        Defendant for the relief demanded in the complaint or petition.




                                                                                                         ~Slc(I 7
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                                   10/7/2022
             DATED ON                              2021.


                                                    SHARON R. BOCK
                                                    By:
                                                            As Deputy Clerk


                                                 SUMMONS:
                                                IMPORTANT
             A lawsuit has been fi led against you. You have 20 calendar days after this summons is
     served upon you to file a written response to the attached Complaint in this Court. A phone call
     will not protect you. Your written response, including the above case number and named parties,
     must be filed if you want the Court to hear your case. If you do not file your response on time,
     you may lose the case, and your wages, money and property may thereafter be taken without
     further warning from the Court. There are other legal requirements. You may want to call an
     attorney right away. If you do not know an attorney, you may call an attorney referral service or
     a legal aid office (listed in the phone book).
            If you choose to file a written response yourself, at the same time you file your written
     response to the Court you must also mail or take a carbon copy or photocopy of your written
     response to the "Plaintiffs/Plaintiffs Attorney" named below.
                                               IMPORTANTE
              Usted ha lido demandado legalmente. Tiene veinte (20) dias, contados a partir del recibo
     de esta notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal.
     Una llamada telefonica no lo protegera; si usted desea que el escrito, incluyendo el numero del
     caso y los nombres de las partes interesadas en dicho caso. Si usted no contesta la demanda a
     tiempo, pudiese perder el caso y podria ser despojado de sus ingresos y propiedades, o priva de
     sus derechos, sin previo aviso del tribunal. Existen otros requisitos legales. Si lo desea puede
     usted consultar a un abogado inmediatamente. Si no conoce a un abogado, puede Hamar a una de
     las oficinas de asistencia legal que aparecen en la guia telefonica.
            Si desea responder a la demanda pro su cuenta, al mismoi tiempo en que presenta su
     respuesta ante el tribunal, debera usted enviar por correo o entregar una copia du su respuesta a la
     persona denominada abajo como "Plaintiffs/Plaintiffs"s Attorney." (Demandante o Abogado de
     Demandante).
                                                IMPORTANT

             Des poursuites judiciaries ont ele entreprises contre vous. Vous avez 20 jours consecutifs
     a partir de la date de l'assignation de cet'te citation pour deposser une response ecite a la plainte
     cijointe aupres de ce Tribunal. Un simple coup de telephone est insuffisant pour vous proteger;
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     vous etes oblige de deposer votre reponse ecrite, ave mention du numero de dossier ci-dessus et
     du nom des parties nommees ici, si vous souhaitez que le Tribunal entende votre cause. Si cous
     ne deposez pas votre reponse ecrite dans le relai requis, vous resiquez de perdre la cause ainsi que
     votre salaire, votre argent, et vos biens peuvent tere saisis par la suite, sans aucun preavis ulterieur
     du Tribunal. II a d' autres obligations juridiques et vous pouvez requerir les services immediates
     d'un avocat. Si vous ne connaissez pas d'avocats, you pourriez telephoner a un service de reference
     d'avocats ou a un brueau d'assistance juridique (figurant a l'annuaire de telephones).
            Si vous choisissez de deposer vous-meme une reponse ecrite, it vous faudra egalement, en
     meme tempos que cette formalite, faire parvenir ou expedier une copie au carbone ou une
     photocopie de votre reponse ecrite au "Plaintiffs/Plaintiffs"s Attorney" (Plaignant ou a son
     avocate) nomme ci-dessous.


     Filed By:      J. Freddy Perera, Esq.
                    Fla. Bar No.: 93625
                    Brody M. Shulman, Esq.
                    Fla. Bar No.: 92044

     Address:       Perera Aleman, P.A.
                    12505 Orange Drive
                    Suite 908
                    Davie, FL 33330
                    (786) 485-5232
